KENJI M. PRICE #10523
United States Attorney
District of Hawaii

HARRY YEE #3790
Assistant U.S. Attorney
Room 6-100, PJKK Federal Bldg.
300 Ala Moana Boulevard
Honolulu, Hawaii 96850
Telephone: (808) 541-2850
Facsimile: (808) 541-3752
Email: Harry.Yee@usdoj.gov

JOSEPH H. HUNT
Assistant Attorney General

WILLIAM C. PEACHEY
Director

GLENN M. GIRDHARRY
Assistant Director

SAMUEL P. GO NYS BAR #4234852
Senior Litigation Counsel
United States Department of Justice
Office of Immigration Litigation, District Court Section
P.O. Box 868, Ben Franklin Station
Washington, D.C. 20044
Telephone: (202) 353-9923
E-mail: samuel.go@usdoj.gov

Attorneys for Defendant

                     UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAII

YA-WEN HSIAO,                     )   Civil No. 1:18-cv-00502-JAO-KJM
                                  )
Plaintiff,                        )   DEFENDANT’S REPLY IN SUPPORT OF
                                  )   DEFENDANT’S MOTION TO DISMISS;
v.                                )   CERTIFICATE OF SERVICE
                                  )
ALEXANDER ACOSTA,                 )   ORAL ARGUMENT REQUESTED
Secretary of Labor,               )
                                  )
Defendant.                        )
                           INTRODUCTION

     This civil action challenges the Department of Labor’s

(“DOL”) denial of a prospective employer’s Application for

Permanent Labor Certification (“PERM Application”), but the

Plaintiff is not the prospective employer, and was not a party

to the underlying administrative proceedings with DOL. Rather,

within the three-step employment-based immigration petitioning

process, the Plaintiff would be the beneficiary of an I-140

petition that could have been filed on behalf of the Plaintiff

only if the prospective employer’s PERM Application was

approved. But here, however, the prospective employer never got

past the first step.   Nevertheless, Plaintiff alleges that

because DOL denied the prospective employer’s PERM Application –

on the basis that the prospective employer failed to provide

adequate documentation of required additional steps to recruit

U.S. workers, and provided documentation that offered employment

terms and conditions that were less favorable to a U.S. worker

than a foreign worker – DOL caused Plaintiff a multitude of

injuries. Specifically, Plaintiff alleges that DOL, in denying

the prospective employer’s PERM Application, caused undue stress

to her and her husband, risked the life of her then-unborn

child, deprived Plaintiff of the opportunity to pursue several

potential higher paying employment opportunities beyond the



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prospective employer, and divested Plaintiff from quality time

with her dying husband.

     Plaintiff is not at fault for the prospective employer’s

failure to meet DOL’s labor certification requirements. However,

as Plaintiff did not, and could not play a role in the filing of

the PERM Application or in the deficiencies identified by DOL in

the prospective employer’s PERM Application, Plaintiff also

lacks standing to challenge DOL’s denial of the PERM Application

in federal court. Only the prospective employer can initiate the

labor certification process on behalf of a foreign worker, and

without it, that foreign worker cannot even commence the process

to immigrate permanently to the United States. Furthermore,

Plaintiff lacks prudential standing to bring this action as

well. Congress did not enact the employment-based adjustment

process with the intent of protecting foreign workers such as

Plaintiff, but to protect U.S. workers. This intent of Congress

is further made clear by the reasons DOL denied the PERM

Application, as the PERM Application was denied because the

prospective employer failed to show it took the required steps

to recruit U.S. workers, and because the submitted documents

shows that U.S. workers were being offered employment terms and

conditions that were less favorable to a U.S. worker than a

foreign worker. On these bases, Plaintiff lacks both



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constitutional and prudential standing to bring forth the

instant action.

     Plaintiff also lacks standing because she has not

sufficiently pled an injury-in-fact that is fairly traceable to

DOL’s challenged conduct and is redressable by a favorable

decision. Plaintiff’s alleged injuries, as set forth in Count 5

her Complaint, are that DOL, in denying the PERM Application,

caused undue stress to her and her husband, risked the life of

her then-unborn child, deprived Plaintiff of the opportunity to

pursue several potential higher paying employment opportunities

beyond the prospective employer, and divested Plaintiff from

quality time with her dying husband. These alleged injuries fail

to adequately plead an injury-in-fact, as a number of these

alleged injuries did not occur to Plaintiff herself, and

Plaintiff failed to provide sufficient alleged facts showing

that the alleged injuries were fairly traceable to DOL’s denial

of the PERM Application, and would be redressable by a favorable

decision. Accordingly, Plaintiff lacks constitutional standing

to bring forth the instant action on this basis as well.

     Finally, as DOL sufficiently responded to Plaintiff’s

Freedom of Information Act (“FOIA”) claim, that claim is moot.

Thus, for the foregoing reasons, the court should grant

Defendant’s Motion to Dismiss and dismiss the instant Complaint.



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                            ARGUMENT

A. Plaintiff lacks constitutional standing to challenge the
   denial of the prospective employer’s PERM Application.

     As previously explained in the Motion to Dismiss, an alien

lacks constitutional standing to challenge the denial of an

immigration petition where the alien is not the petitioner but

merely the beneficiary. See ECF No. 13-1 (“Mot.”) at 10-12.

Along with Defendant’s previously cited cases, recent district

court cases continue to support this principle. See Siddhantam

v. Sessions, No. 3:17-CV-2001-S, 2018 WL 4053366, at *3 (N.D.

Tex. Aug. 24, 2018)(finding beneficiary lacked standing to

challenge the denial of an immigration petition); Desmore v.

Dep't of Homeland Sec., No. CV G-14-191, 2016 WL 561176, at *4

(S.D. Tex. Feb. 12, 2016)(same). See also Opoku–Agyeman v.

Perez, 886 F. Supp. 2d 1143, 1148 (W.D. Missouri 2012)(same).

While the issue of whether a beneficiary has standing to

challenge a denial of a prospective employer’s PERM Application

remains an open question in this court, these cases, as well as

the cases cited in the Motion to Dismiss, offer pertinent

guidance as to why a beneficiary lacks standing to bring this

type of challenge. Only the prospective employer can initiate

the labor certification process on behalf of a foreign worker,

and without it, the foreign worker cannot even commence the

process to immigrate permanently to the United States.   The


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prospective employer, as the party that filed the labor

certification application, “is considered the proper party

having a personal stake in the outcome sufficient to warrant ...

invocation of federal court jurisdiction,” not the Plaintiff.

Cost Saver Mgmt., LLC v. Napolitano, No. CV 10-2105-JST (CWX),

2011 WL 13119439, at *3 (C.D. Cal. June 7, 2011)(further

quotations omitted).

     In her Opposition, Plaintiff attempts to minimize the case

law, claiming that they do not apply because “she is the sole

beneficiary” and “not a ‘derivative’ beneficiary” of the PERM

Application; and because they are cases “against the USCIS.” ECF

No. 24 (“Opp.”) at 11-12. Plaintiff does not explain why being a

“sole beneficiary” is a distinction that gives her standing to

challenge DOL’s denial of a prospective employer’s PERM

Application. See id. In Aranas v. Napolitano, No.

SACV121137CBMAJWX, 2013 WL 12251153 (C.D. Cal. Apr. 19, 2013),

the court found that “[a] party ordinarily “cannot rest his

claim to relief on the legal rights or interests of third

parties,” and that “this principle appears to extend to the

beneficiaries of immigration petitions.” 2013 WL 12251153, at

*3. The Aranas court then noted that “Aranas is not a petitioner

but merely a derivative beneficiary of the immigration benefits

sought by his mother.” Id. at *4. Similarly, Plaintiff is not a

petitioner, but merely a possible beneficiary of a potential
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I-140 petition that could be filed only if the prospective

employer’s PERM Application was approved. Plaintiff contends

that she is “not a ‘derivative’ beneficiary” of the PERM

Application, but offers no explanation why this purported

distinction gives her standing. See Opp. at 12. Finally,

Plaintiff contends that Defendant’s cited case law is

distinguishable because they are cases “against the USCIS.” See

id. at 10-12. Indeed, there is no direct case law on point in

this circuit, which is why the issue of whether a beneficiary

has standing to challenge a denial of a prospective employer’s

PERM Application remains an open question in this court.

However, the guidance provided by cases in this circuit such as

Aranas and Cost Saver Mgmt. establish the general rule that an

alien lacks constitutional standing to challenge the denial of

an immigration petition where the alien is not the petitioner

but merely the beneficiary, and Plaintiff fails to show why her

case should be excepted from this general rule.

     Defendant also noted certain cases where courts found alien

beneficiaries to have standing, but noted that the key

distinction in those cases dealt with the second step in the

visa process: the approval or denial of an I-140 petition. See

Mot. at 12 n. 1. This is key because the issue in the instant

action – the approval or denial of a prospective employer’s PERM

Application - are the broad questions of whether there are
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sufficient U.S. workers available to fill the available job

opportunities and whether the employment of the foreign worker

would adversely affect the wages and working conditions of U.S.

workers, 8 U.S.C. § 1182(a)(5)(A), whereas the issue with the

approval or denial of an I-140 petition is the specific question

of whether a particular alien beneficiary can receive a visa.

Accordingly, the findings by the courts in Tenrec, Inc. v.

United States Citizenship & Immigrations Servs., No. 3:16-CV-

995-SI, 2016 WL 5346095 (D. Or. Sept. 22, 2016) and Patel v.

U.S. Citizenship and Immigration Services, 732 F.3d 633 (6th

Cir. 2013) – that the alien’s “status is at stake” (Tenrec) and

that the alien “lost a significant opportunity to receive an

immigrant visa” (Patel) are not applicable to the instant

action. While Plaintiff contends that these findings do apply,

she makes no argument as to why these findings apply to the

broad questions of whether there are sufficient U.S. workers

available to fill the position offered to foreign workers by the

prospective employer, and whether the employment of the foreign

worker would adversely affect the wages and working conditions

of U.S. workers. See Opp. at 12-13.




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B. Plaintiff lacks constitutional standing because she has not
   sufficiently pled an injury-in-fact that is fairly traceable
   to Defendant’s challenged conduct and redressable by a
   favorable decision.

     Notably, Plaintiff’s Opposition fails to identify any

specific allegation in the Complaint that counters Defendant’s

argument that the Complaint fails to adequately plead an injury-

in-fact fairly traceable to DOL’s challenged conduct and

redressable by a favorable decision. See Opp. at 13-15, 24-25.

Plaintiff points to paragraph 41 of her Complaint, which alleges

that she requested a status update on May 11, 2018, but fails to

show how this paragraph satisfied the injury-in-fact

requirement. See id. at 13-14. “To establish injury in fact, a

plaintiff must show that he or she suffered ‘an invasion of a

legally protected interest’ that is ‘concrete and

particularized’ and ‘actual or imminent, not conjectural or

hypothetical.’ Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1548

(2016)(quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560

(1992)). Here, Plaintiff references an extension to her work

permit, which is not the subject of the Complaint. See Opp. at

13-14.

     Plaintiff then claims in her Opposition that a main premise

of this action is that the “unlawful” denial of the PERM

Application and the labor certification appeals process

“deprives her of the opportunity for applying for lawful


                              - 8 -
permanent status” and “the basic ability to continue to legally

work in this country.” Opp. at 14. However, Plaintiff makes no

such allegation in the Complaint. See ECF No. 1, Complaint

(“Compl.”)

      With regard to the injuries alleged in Count 5 of the

Complaint, Plaintiff states that “Defendant is not a doctor,”

that Defendant’s actions “undoubtedly caused her and her family

added undue stress and suffering.” Opp. at 14. However, the

issues are that the alleged injuries suffered by Plaintiff’s

husband (Compl. at ¶ 115) do not establish that Plaintiff herself

suffered an injury-in-fact, and that the complaint alleges no

specific facts giving rise to a reasonable inference that

Plaintiff's alleged injuries of “risk[ing] the life of her then-

unborn child,” making Plaintiff “unable to pursue several

potential higher paying employment opportunities” and divesting

Plaintiff from quality time with her husband, were caused by

Defendant’s conduct (Compl. at ¶¶ 116-17). See Mot. at 13-16. The

challenged conduct is the denial of a prospective employer’s

PERM Application and the administrative appeals process

affirming that denial. The Complaint fails to allege specific

facts reasonably showing that the PERM Application denial caused

the aforementioned alleged injuries, or that a favorable

decision will redress these injuries, and Plaintiff’s Opposition

points to no allegations in the Complaint showing otherwise. The
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injuries Plaintiff later presents in her Opposition, see Opp. at

15, 24-25, are not alleged in the Complaint.

C. Plaintiff lacks prudential standing because she is not within
   the “zone of interest” covered by the statute governing alien
   labor certifications filed by employers.

     As noted in Defendant’s Motion to Dismiss, the labor

certification process was intended by Congress to protect U.S.

workers, not to benefit foreign workers. See Mot. at 20-21

(citing Vemuri v. Napolitano, 845 F. Supp. 2d 125, 131 (D.D.C.

2012)). The Vemuri court noted that “Congress revised the labor

certification process for employment visas to require the

Secretary of Labor to affirmatively find that a non-citizen

seeking to enter the United States for employment purposes would

not replace a U.S. worker or adversely affect U.S. wages or

working conditions.” Vemuri, 845 F. Supp. 2d at 131 (citing

Immigration and Nationality Act—Amendments, Pub.L. No. 89–236,

79 Stat. 911–922, § 10(a)(1965).

     In her Opposition, Plaintiff claims that she, in fact, is a

“U.S. Worker.” See Opp. at 16-19, 25.   She is not. 8 U.S.C.

§ 1182 states as follows:

     E) The term “United States worker” means an employee who--

     (i) is a citizen or national of the United States; or

     (ii) is an alien who is lawfully admitted for permanent
residence, is admitted as a refugee under section 1157 of this
title, is granted asylum under section 1158 of this title, or is
an immigrant otherwise authorized, by this chapter or by the
Attorney General, to be employed.
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8 U.S.C. § 1182(n)(4)(E); see also 8 U.S.C. § 1182(t)(4)(D)

(defining “United States worker” in the same manner).    Here,

Plaintiff is not a citizen or national of the United States; is

not an alien who is lawfully admitted for permanent residence;

it not admitted as a refugee or granted asylum; and is not an

immigrant otherwise authorized to be employed. Plaintiff appears

to contend that she falls under the last category – “an

immigrant otherwise authorized, by this chapter or by the

Attorney General, to be employed.”     See Opp. at 17 (referencing

8 U.S.C.A. § 1182(n)(4)(E)). However, she is not an immigrant,

as the H-1B visa she currently holds is a classification for

qualified nonimmigrant aliens who are coming temporarily to the

United States to perform services in a specialty occupation. 8

U.S.C. § 1101(a)(15)(H)(i)(b). Thus, Plaintiff’s status is as a

non-immigrant. See 8 U.S.C. § 1182(n)(4)(C). Plaintiff’s

citation to 8 U.S.C. § 1182(a)(5)(A)(i)(II), see Opp. at 17,

does not prove that she is a “U.S. Worker,” as this provision

only relates to the labor certification ensuring that U.S. wages

or working conditions will not be adversely affected. 1 For these

reasons and the reasons stated in Defendant’s Motion to Dismiss,




1 Plaintiff’s cited case of Din v. Kerry, 718 F.3d 856 (9th Cir.
2013) was vacated and is no longer valid case law.
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Plaintiff lacks prudential standing and this case should be

dismissed.

D. Plaintiff’s claim that DOL failed to respond to her FOIA
request is moot.

     Plaintiff’s sole FOIA claim in this case seeks the

production of records from the Office of the Assistant Secretary

for Administration and Management (“OASAM”) that are responsive

to her August 22, 2018 FOIA request to DOL.   DOL has argued that

this claim is moot because OASAM submitted its responsive

records to Plaintiff on January 8, 2019 (“OASAM’s FOIA

Response”).   See ECF No. 13, at 22-23; see also Plaintiff’s

Exhibit 3, Email from Thomas Hicks to Ya-Wen Hsiao, January 30,

2019 (“January 30, 2019 Email”), ECF No. 14-4.   Plaintiff

disputes this argument, claiming that she still has not received

OASAM’s FOIA Response.   See Opp. at 20-21, 26-27.   Although

DOL’s records indicate that OASAM’s FOIA Response was sent on

January 8, 2019, see January 30, 2019 Email, ECF No. 14-4, DOL

has provided this Response to Plaintiff, again, to ensure its

receipt.   See Email from Anna Walker to Ya-Wen Hsiao, May 23,

2019, (“May 23, 2019 Email”), attached hereto as Exhibit A.

Thus, DOL maintains that any claims arising from Plaintiff’s

August 22, 2018 FOIA request are moot because OASAM has

responded to Plaintiff’s FOIA Request and DOL has provided this

Response to Plaintiff a second time.


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     As Defendant stated in his Motion to Dismiss, “when an

administrative agency has performed the action sought by a

plaintiff in litigation, a federal court ‘lacks the ability to

grant effective relief,’ and the claim is moot.”   Mot. at 22

(citing Rosemere Neighborhood Ass'n v. U.S. Envtl. Prot. Agency,

581 F.3d 1169, 1173 (9th Cir. 2009)). Plaintiff’s Opposition

does not dispute this principle, see Opp. at 20-21, 26-27, and

DOL has again provided Plaintiff with OASAM’s FOIA Response. See

May 23, 2019 Email.   Accordingly, there is no question that

Plaintiff’s sole FOIA claim in this case is now moot.   See Papa

v. United States, 281 F.3d 1004, 1013 (9th Cir. 2002)(quoting

Perry v. Block, 684 F.2d 121, 125 (D.C. Cir. 1982)).    Plaintiff

concludes that OASAM’s FOIA Response is certain to be subject to

appeal by FOIA regulations.   See Opp. at 21. However, such

unspecified claim that Plaintiff intends to seek possible

administrative or legal relief is not ripe for this court’s

adjudication.   See National Sec. Archive v. C.I.A., 564 F. Supp.

2d 29, 34 (D.D.C. 2008) (finding that relief for potential

future conduct must be dismissed as unripe); see also Long v.

U.S. Dept. of Justice, 450 F. Supp. 2d 42, 84-85 (D.D.C. 2006)

(finding that question of whether the FOIA requester was an

“educational institution” or a “representative of the news

media” was not ripe for adjudication, as that the main relief

sought was a fee waiver, which the agency already granted to the
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requester).   Thus, Plaintiff’s sole FOIA claim in this case,

regarding the production of records from OASAM, should be

denied.

     Plaintiff has asked the court to order DOL to show cause

regarding “inaccuracies” and attempts by DOL to “purposely hide

public information to the point of falsifying data on the FOIA

tracking system to protect a retired government worker who

evidently have [sic] committed conflict of interest crimes.”

See ECF No. 24, 20-21.   Plaintiff’s request to show cause is

unsupported, moot, and should be denied.   Plaintiff has alleged

nothing on the face of the pleadings or in her Response in

Opposition to indicate that DOL has intentionally hidden records

responsive to her request or falsified data.   To the contrary,

Plaintiff admits that DOL’s Office of Administrative Law Judges

(“OALJ”) has furnished its part of the FOIA request in a timely

manner and that DOL’s Office of the Solicitor (“SOL”) postmarked

responsive documents within its custody on February 27, 2019.

See id.   Likewise, while DOL’s records show that OASAM’s FOIA

Response was sent on January 8, 2019, as soon as DOL received

Plaintiff’s Response in Opposition indicating that she still has

not received this Response from OASAM, DOL forwarded that

Response to Plaintiff, again, to ensure its receipt.   See May

23, 2019 Email.   Accordingly, Plaintiff’s request to show cause

is unsupported, and because DOL has sent to Plaintiff OASAM’s
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FOIA Response, for a second time to ensure its receipt, any

request to show cause is moot and should be dismissed.

                           CONCLUSION

     For the reasons indicated above and in the Motion to

Dismiss, the Court should find that Plaintiff lacks standing to

challenge the denial of the Employer’s Application for labor

certification, and that Plaintiff’s FOIA claim is moot.    The

Court, therefore, should dismiss Plaintiff’s Complaint in its

entirety under Rule 12(b)(1). The Court should also deny

Plaintiff’s Request for Censure and Order to Show Cause.

Contrary to Plaintiff’s assertion, Defendant did not waive the

standing argument, and did not accept that Plaintiff has

independent standing to seek review in federal district court.



Dated: May 24, 2019             Respectfully submitted,

                                KENJI M. PRICE
                                United States Attorney
                                District of Hawaii

                                By:/s/ Harry Yee
                                HARRY YEE
                                Assistant U.S. Attorney

                                JOSEPH H. HUNT
                                Assistant Attorney General

                                WILLIAM C. PEACHEY
                                Director

                                GLENN M. GIRDHARRY
                                Assistant Director


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  By:/s/ Samuel P. Go
  SAMUEL P. GO
  NYS Bar No. 4234852
  Senior Litigation Counsel
  United States Department of
  Justice
  Civil Division
  Office of Immigration Litigation
  District Court Section
  P.O. Box 868, Ben Franklin
  Station
  Washington, D.C. 20044
  Telephone: (202) 353-9923
  E-mail: Samuel.go@usdoj.gov

  Attorneys for Defendant




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                     CERTIFICATE OF SERVICE

     I hereby certify that, on May 24, 2019 by the method of

service noted below, a true and correct copy of the foregoing

was served on the following at their last known address:

     Served by Federal Express:

     Ya-Wen Hsiao                         May 24, 2019
     1141 Hoolai St., Apt. 201
     Honolulu, HI 96814


                            /s/ Samuel P. Go
                            Samuel P. Go
                            Senior Litigation Counsel
                            District Court Section
                            Office of Immigration Litigation
                            Civil Division
                            U.S. Department of Justice
                            P.O. Box 868, Ben Franklin Station
                            Washington, D.C. 20044
                            Tel: (202) 353-9923
                            Fax: (202) 305-7000




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